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14
                         UNITED STATES DISTRICT COURT
15
                        CENTRAL DISTRICT OF CALIFORNIA
16
                       WESTERN DIVISION AT LOS ANGELES
17
     BROIDY CAPITAL MANAGEMENT LLC
18   and ELLIOTT BROIDY,                              Case No. 2:18-CV-02421-JFW-E
19                           Plaintiffs,
                                                      The Honorable John F. Walter
20         v.
21   STATE OF QATAR, STONINGTON                       MEMORANDUM OF POINTS
     STRATEGIES LLC, NICOLAS D. MUZIN,                AND AUTHORITIES IN
22   GLOBAL RISK ADVISORS LLC, KEVIN                  SUPPORT OF STONINGTON
     CHALKER, DAVID MARK POWELL,
23   MOHAMMED BIN HAMAD BIN                           DEFENDANTS’ OPPOSITION
     KHALIFA AL THANI, AHMED AL-                      TO PLAINTIFFS’
24   RUMAIHI, and DOES 1-10,                          APPLICATION TO CONTINUE
25                           Defendants.              HEARING
26
27                                                 Hearing Date: August 13, 2018
                                                   Proposed Hearing Date:
28
                                                   August 27, 2018
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 1           The application of Plaintiffs Broidy Capital Management LLC and Elliott Broidy
 2   (together, “Plaintiffs”) to continue the hearing on the motion to dismiss filed by
 3   Defendants Nicolas D. Muzin and Stonington Strategies LLC (together, “Stonington
 4   Defendants”) should be denied. As in most situations where litigators have personal
 5   conflicts with court dates, there are many possible solutions here that would both
 6   accommodate the scheduling conflict and protect the interests of the various parties.
 7   Plaintiffs’ application, however, insists on only one solution: moving the hearing date
 8   without any accommodation to the Stonington Defendants’ legitimate interests in
 9   resolving the matter quickly, especially while Plaintiffs engage in unilateral discovery.
10           As discussed below, the Stonington Defendants have made multiple good faith
11   efforts to cooperate with Plaintiffs on the hearing date.
12           First, the Stonington Defendants filed a joint stipulation to hold the hearing on
13   August 6, 2018, Dkt. 118. The Court, however, denied that stipulation on June 29,
14   2018.    Dkt. 120.    Plaintiffs’ motion unfairly casts the Stonington Defendants as
15   unsympathetic to Mr. Wolosky’s schedule, but even a cursory review of the email
16   exchange between the parties demonstrates that is false. See Dkt. 140-2, 140-3. The
17   truth is that the Stonington Defendants have already offered a different hearing date,
18   and consistent with their understanding of this Court’s July 3 Order, Dkt. 122, filed and
19   noticed their motion to dismiss promptly.
20           Second, although Mr. Wolosky may not be available for the hearing on August
21   13, 2018, Plaintiffs have an army of attorneys working on this case, including multiple
22   partners—some based out of Los Angeles—from a top-ranked, national law firm. In
23   fact, attorneys other than Mr. Wolosky have participated in meet and confers on behalf
24   of Plaintiffs when Mr. Wolosky has been unavailable.           As undersigned counsel
25   suggested in his July 6 email to Plaintiffs’ counsel, see Dkt. 140-2, Plaintiffs certainly
26   could have sought permission to have another attorney argue the motion—a fair
27   compromise to which the Stonington Defendants would have consented to avoid the
28   issues described herein. Indeed, the Court’s Standing Order expressly contemplates

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 1   that the Court may permit more than one individual to be designated “lead counsel.”
 2   Dkt. 17 at 2. (“Only ONE attorney for a party may be designated as lead trial counsel
 3   unless otherwise permitted by the Court.”). Instead, Plaintiffs decided to burden the
 4   Court with this application for relief.
 5         Third, Plaintiffs could accommodate the interests of Stonington Defendants and
 6   agree to stay discovery (including third-party discovery) until after the hearing on the
 7   motion to dismiss. As explained in the Stonington Defendants’ stay motion, Dkt. No.
 8   81, Plaintiffs do not have any legitimate interest in pushing forward with discovery
 9   while the defendants’ motions to dismiss are decided, and they will not be prejudiced
10   in any legitimate way if they agree to a stay of discovery until then.
11         In contrast, the Stonington Defendants will suffer prejudice if the hearing is
12   delayed and Plaintiffs continue their discovery blitz. From the outset, Plaintiffs have
13   aggressively pursued unilateral, burdensome, and costly discovery against the
14   Stonington Defendants and myriad third parties before the Stonington Defendants even
15   had the opportunity to respond to the Complaint, let alone the First Amended
16   Complaint. Plaintiffs then weaponized this discovery, for example, leaking Dr. Muzin’s
17   telephone records to the press in an effort to smear his reputation. See Dkt. 96 at 11.1
18   And just this past week, Plaintiffs publicly filed “Attorneys Eyes Only” documents from
19   third-party Joey Allaham that could have been acquired by the media and may still turn
20   up in the public record. See Dkt. 131. The Stonington Defendants should not, therefore,
21   be subjected to the irreparable costs and threat of public attacks associated with two
22   more weeks of discovery before their motion to dismiss is heard because of a scheduling
23   conflict with Plaintiffs’ counsel.
24         Finally, the Stonington Defendants twice asked Plaintiffs to refrain from seeking
25   Court intervention until after the July 30, 2018 hearing on Defendant Qatar’s motion to
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       After the Stonington Defendants filed their Reply to their Motion to Stay, Plaintiffs
27   responded to the Stonington Defendants’ request for confirmation that neither Plaintiffs
28   nor their counsel leaked Dr. Muzin’s phone records—either directly or indirectly—to
     the media, but failed to actually provide the requested confirmation. See Exs. A, B.
                                                 2
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 1   dismiss and the defendants’ motions to stay discovery, as the results of that hearing
 2   might have mooted this dispute or allowed the parties to cooperate so as to avoid the
 3   need to disturb the Court with this additional briefing. See Dkt. 140-2, 140-3. Indeed,
 4   Plaintiffs concede as much. Dkt. 140 at 3. Plaintiffs nevertheless refused, instead
 5   immediately filing this “application” without any “temporal urgency” or threat of
 6   “immediate and irreparable harm.” Adknowledge, Inc. v. Warshal, No. EDCV13-
 7   01301JFW, 2013 WL 12144089, at *1 (C.D. Cal. Sept. 10, 2013) (quoting Mission
 8   Power Eng’g Co. v. Continental Cas. Co., 883 F. Supp. 488, 490 (C.D. Cal. 1995)).2
 9   Again, Plaintiffs have inaccurately cast the Stonington Defendants as being unwilling
10   to compromise on the hearing date despite undersigned counsel’s express willingness
11   to do so.
12         As a result, notwithstanding the Stonington Defendants’ sincere sympathy with
13   Mr. Wolosky’s conflict and good faith attempts to cooperate on the schedule (and offers
14   to do so in the future), the Stonington Defendants have no choice but to oppose
15   Plaintiffs’ application.   The Stonington Defendants request that the Court deny
16   Plaintiffs’ application and either allow another one of Plaintiffs’ attorneys to argue the
17   motion on August 13, or grant the Stonington Defendants’ pending motion to stay
18   discovery and move the hearing to August 27, when Mr. Wolosky will be available.
19   Unlike Plaintiffs’ proposed solution, either of these options would both accommodate
20   Mr. Wolosky’s schedule and the Stonington Defendants’ legitimate interests.
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       Plaintiffs have not labeled their “application” as “ex parte,” and they make no effort
23   whatsoever to satisfy this Court’s high bar for emergency relief. Dkt. 17 at 11 (“Ex
24   parte applications are solely for extraordinary relief.” (citing Mission Power Eng’g Co.,
     883 F. Supp. at 490)); see Ahmed v. HSBC Bank USA, No. EDCV15-2057, 2018 WL
25   504672, at *3 (C.D. Cal. Jan. 12, 2018). However, they have not set a hearing date or
26   otherwise complied with the Local Rules regarding motions practice, and thus the
     Stonington Defendants are, out of an abundance of caution, filing this opposition within
27   twenty-four hours pursuant to this Court’s Standing Order. Dkt. 17 at 11-12. To the
28   extent this application does qualify as a request for ex parte relief, it should be denied
     for its complete failure to satisfy the standard for such relief.
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 1   Dated: July 11, 2018                      Respectfully submitted,
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 3                                             LECLAIRRYAN LLP
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 5                                             By: /s/ Stephen J. Obermeier
 6                                             Stephen J. Obermeier
 7
                                               Attorney for Defendants Stonington
 8                                             Strategies LLC and Nicolas D. Muzin
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